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                   IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAII


  WILLIAM H. GILLIAM,                           Civ. No. 20-00372 JMS-KJM

                      Plaintiff,                ORDER DISMISSING ACTION

         vs.

  PORTER MCGUIRE KIAKONA &
  CHOW, LLP,

                      Defendant.


                          ORDER DISMISSING ACTION

                                   I. INTRODUCTION

               On April 28, 2021, the court dismissed the federal claim in this action

  that alleged violations of the Fair Debt Collection Practices Act (“FDCPA”), 15

  U.S.C. §§ 1692 et seq., against Defendant Porter McGuire Kiakona & Chow, LLP

  (“Defendant”). See ECF No. 31; Gilliam v. Porter McGuire Kiakona & Chow,

  LLP, 2021 WL 1681076 (D. Haw. Apr. 28, 2021) (Order Granting Defendant’s

  Motion to Dismiss and/or for Judgment on the Pleadings). The court determined

  that—based on the allegations in pro se Plaintiff William H. Gilliam’s (“Plaintiff”

  or “Gilliam”) First Amended Complaint (“FAC”)—Plaintiff lacked statutory

  standing to bring an FDCPA claim because he was not “the object of collection

  activity arising from a consumer debt” where Defendant did not direct collection
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  efforts at him. Gilliam, 2021 WL 1681076, at **7-10.1 That is, any collection

  efforts (assuming they were for a “consumer debt”) by Defendant were directed at

  the owner of the property—Pacific Rim Property Service Corporation

  (“PRPSC”)—and not at Gilliam. Although the court seriously doubted whether a

  further amendment to the FAC could cure the identified defects, the court granted

  Plaintiff leave to file a supplemental memorandum “describing any further

  amended FDCPA claims that he believes he could bring that would not be barred.”

  Id. at *11.

                 On May 11, 2021, Plaintiff filed a memorandum that attempts to

  describe how he could amend his FDCPA claim. See ECF No. 32

  (“MORANDUM (sic) pursuant to Court’[s] ORDER [of] APRIL 28, 20121 (sic)”).

  Having reviewed Plaintiff’s memorandum, the court concludes that further

  amendment would be futile and DISMISSES the action. The FDCPA claim is

  DISMISSED with prejudice. The court declines to exercise jurisdiction over the

  supplemental state law claims and DISMISSES those claims without prejudice.




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          The court also determined that, under 28 U.S.C. § 1367(c)(3), it would dismiss the
  supplemental state law claims without prejudice to refiling in state court, unless Plaintiff could
  demonstrate that it was not futile to amend the FDCPA claim. Gilliam, 2021 WL 1681076, at
  *11.


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                                        II. DISCUSSION2

                 Plaintiff first argues that “[t]he defendant[] caused the [state] Circuit

  Court to direct an immediate Writ of possession specifically naming your

  plaintiff.” ECF No. 32 at PageID # 295. He states that Defendant has indicated in

  an appellate brief before the Hawaii Intermediate Court of Appeals that “they seek

  a deficiency judgment.” Id. But, even accepting as true that a writ of possession

  was directed at Plaintiff (who was apparently living in the condominium) as part of

  the state court foreclosure action, this does not mean that Defendant directed debt

  collection activity at Plaintiff. Rather, as the court has already determined, the writ

  of possession was obtained by George Robinson, the court-appointed receiver of

  PRPSC—not by Defendant. See Gilliam, 2021 WL 1681076, at *10; see also In re

  Gilliam, 2020 WL 5848340, at *2 (D. Haw. Oct. 1, 2020) (“[O]n October 2, 2019,

  the State Court issued an order authorizing and instructing Robinson to sell the

  condominium to settle the debts of PRPSC. That Order, along with a Writ of

  Possession issued on the same day, gave Robinson exclusive and immediate

  possession of the condominium and authorized Robinson to remove Gilliam and

  his property from the premises.”); cf. Gilliam v. Watanabe, 2020 WL 5223778, at




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            The court relies on its April 28, 2021 Order, and the orders of which it took judicial
  notice, for the background. That background is not repeated here.
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  *5 (D. Haw. Sept. 1, 2020) (rejecting, based on judicial immunity, an effort by

  Gilliam to file an FDCPA claim against Robinson).

               Moreover, even if Defendant had some role in directing a writ of

  possession in the foreclosure action against Gilliam, such a role would not be

  actionable under the FDCPA. “Actions that constitute enforcement of a security

  interest (such as a judicial foreclosure action), without more, do not constitute an

  attempt to collect a debt for purposes of the FDCPA.” Gilliam, 2021 WL 1681076,

  at *10 n.12 (citing Barnes v. Routh Crabtree Olsen PC, 963 F.3d 993, 998 (9th Cir.

  2020) (“In contrast to an action on the note, the enforcement of a security interest

  does not entail an attempt to collect money from the debtor [under the FDCPA].”)).

  As Barnes reasoned, “[a] judicial foreclosure proceeding is not a form of debt

  collection when the proceeding does not include a request for a deficiency

  judgment or some other effort to recover the remaining debt.” 963 F.3d at 998.

               Plaintiff apparently attempts to fit within the exception in Barnes

  where a deficiency judgment is sought, arguing that Defendant indicated in an

  appellate brief before the Hawaii Intermediate Court of Appeals that “they seek a

  deficiency judgment.” ECF No. 32 at PageID # 295. But even if Defendant made

  such a statement to that court, there could be no deficiency judgment sought

  against Gilliam. Gilliam is not an owner of the property and would have no

  liability for PRPSC’s debts.


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               Finally, Gilliam argues that he brought the action not only on behalf

  of himself individually, but also “as personal representative of the estate of my late

  mother.” ECF No. 32 at PageID # 298. But, assuming he could appear on a pro se

  basis as a representative of his mother’s estate, Gilliam’s argument does not mean

  he would be able to amend the FDCPA claim to avoid the identified deficiencies.

  As before, any debt collection activity was directed only at PRPSC and not against

  Gilliam and not against his mother’s estate. And even if his mother’s estate could

  have had some remaining interest in PRPSC, any collection efforts were directed

  only at PRPSC and were part of enforcing a secured interest in a judicial

  foreclosure proceeding. Under Barnes, enforcement of such an interest is not

  actionable under the FDCPA.

                                 III. CONCLUSION

               Gilliam has not identified any basis to amend his FDCPA claim to

  cure the identified defects. Thus, the dismissal of the FDCPA claim as set forth in

  the court’s April 28, 2021 Order is with prejudice. See, e.g., Cervantes v.

  Countrywide Home Loans, Inc., 656 F.3d 1034, 1041 (9th Cir. 2011) (“Although

  leave to amend should be given freely, a district court may dismiss without leave

  where a plaintiff's proposed amendments would fail to cure the pleading

  deficiencies and amendment would be futile.”). The court declines supplemental




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  jurisdiction over the state law claims, which are dismissed without prejudice to

  refiling in state court. 3 The Clerk of Court shall close the case file.

                 IT IS SO ORDERED.

                 DATED: Honolulu, Hawaii, May 28, 2021.


                                                     /s/ J. Michael Seabright
                                                    J. Michael Seabright
                                                    Chief United States District Judge




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           The statute of limitations on state law claims would be tolled for the period that this
  federal case was pending. See 28 U.S.C. § 1367(d) (“The period of limitations for any claim
  asserted under subsection (a), and for any other claim in the same action that is voluntarily
  dismissed at the same time as or after the dismissal of the claim under subsection (a), shall be
  tolled while the claim is pending and for a period of 30 days after it is dismissed unless State law
  provides for a longer tolling period.”); Artis v. Dist. of Columbia, 138 S. Ct. 594, 598 (2018)
  (holding that “§ 1367(d)’s instruction to ‘toll’ a state limitations period means to hold it in
  abeyance, i.e., to stop the clock”).
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